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     UNITED STATES OF AMERICA
11
                            UNITED STATES DISTRICT COURT
12
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,               No. 2:19-MJ-03937-DUTY
14
               Plaintiff,
15                                           GOVERNMENT’S NOTICE OF REQUEST FOR
                     v.                      DETENTION
16
     EDWARD BUCK,
17
               Defendant.
18
19        Plaintiff, United States of America, by and through its counsel
20   of record, hereby requests detention of defendant and gives notice of
21   the following material factors:
22       1.    Temporary 10-day Detention Requested (§ 3142(d)) on the
23             following grounds:
24            a.    present offense committed while defendant was on release
25                  pending (felony trial),
26            b.    defendant is an alien not lawfully admitted for
27                  permanent residence; and
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2             c.    defendant may flee; or

3             d.    pose a danger to another or the community.

4       2.    Pretrial Detention Requested (§ 3142(e)) because no

5              condition or combination of conditions will reasonably

6              assure:

7             a.    the appearance of the defendant as required;

8             b.    safety of any other person and the community.

9        3.    Detention Requested Pending Supervised Release/Probation
10             Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18 U.S.C.

11             § 3143(a)):

12             a.    defendant cannot establish by clear and convincing

13                   evidence that he/she will not pose a danger to any

14                   other person or to the community;

15             b.    defendant cannot establish by clear and convincing

16                   evidence that he/she will not flee.

17       4.    Presumptions Applicable to Pretrial Detention (18 U.S.C.

18             § 3142(e)):
19             a.    Title 21 or Maritime Drug Law Enforcement Act (“MDLEA”)

20                   (46 U.S.C. App. 1901 et seq.) offense with 10-year or

21                   greater maximum penalty (presumption of danger to

22                   community and flight risk);

23             b.    offense under 18 U.S.C. §§ 924(c), 956(a), 2332b, or

24                   2332b(g)(5)(B) with 10-year or greater maximum penalty

25                   (presumption of danger to community and flight risk);

26             c.    offense involving a minor victim under 18 U.S.C.

27                   §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,

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1                    2251A, 2252(a)(1)-(a)(3), 2252A(a)(1)-2252A(a)(4),

2                    2260, 2421, 2422, 2423 or 2425 (presumption of danger

3                    to community and flight risk);

4              d.    defendant currently charged with an offense described

5                    in paragraph 5a - 5e below, AND defendant was

6                    previously convicted of an offense described in

7                    paragraph 5a - 5e below (whether Federal or

8                    State/local), AND that previous offense was committed

9                    while defendant was on release pending trial, AND the
10                   current offense was committed within five years of

11                   conviction or release from prison on the above-

12                   described previous conviction (presumption of danger to

13                   community).

14      5.    Government Is Entitled to Detention Hearing Under § 3142(f)

15             If the Case Involves:

16             a.    a crime of violence (as defined in 18 U.S.C.

17                   § 3156(a)(4)) or Federal crime of terrorism (as defined

18                   in 18 U.S.C. § 2332b(g)(5)(B)) for which maximum
19                   sentence is 10 years’ imprisonment or more;

20             b.    an offense for which maximum sentence is life

21                   imprisonment or death;

22             c.    Title 21 or MDLEA offense for which maximum sentence is

23                   10 years’ imprisonment or more;

24             d.    any felony if defendant has two or more convictions for

25                   a crime set forth in a-c above or for an offense under

26                   state or local law that would qualify under a, b, or c

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1                    if federal jurisdiction were present, or a combination

2                    or such offenses;

3              e.    any felony not otherwise a crime of violence that

4                    involves a minor victim or the possession or use of a

5                    firearm or destructive device (as defined in 18 U.S.C.

6                    § 921), or any other dangerous weapon, or involves a

7                    failure to register under 18 U.S.C. § 2250;

8             f.    serious risk defendant will flee;

9              g.    serious risk defendant will (obstruct or attempt to
10                   obstruct justice) or (threaten, injure, or intimidate

11                   prospective witness or juror, or attempt to do so).

12        6.   Government requests continuance of _____ days for detention

13             hearing under § 3142(f) and based upon the following

14             reason(s):

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19   //
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22   //
23   //
24   //
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26   //
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1        7.    Good cause for continuance in excess of three days exists in

2              that:

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8    Dated: September 26, 2019           Respectfully submitted,
9                                        NICOLA T. HANNA
                                         United States Attorney
10
                                         BRANDON D. FOX
11                                       Assistant United States Attorney
                                         Chief, Criminal Division
12

13                                         /s/ Brittney M. Harris
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14                                       Assistant United States Attorney
15                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
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